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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

DETRICK CROSTON                                                                     PLAINTIFF

V.                                     4:20-cv-00046-JM /JTR

MARSHALL D. REED, et al.                                                        DEFENDANTS


                                             ORDER

        The Court has reviewed the recommendation submitted by United States Magistrate Judge

J. Thomas Ray and the objections. After carefully considering these documents and making a de

novo review of the record in this case, the Recommendation is approved and adopted in its entirety

as this Court's findings in all respects.

        IT IS THEREFORE ORDERED that:

        1.       Defendants’ Motion for Summary Judgment (Doc. 28) is GRANTED, and Mr.

Croston’s claims against them are DISMISSED WITHOUT PREJUDICE.

        2.      Plaintiff’s Motion for Judgment (Doc. 23) is DENIED.

        Dated this 12th day of January, 2021.



                                                    ____________________________________
                                                    UNITED STATES DISTRICT JUDGE
